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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF DELAWARE


                                         C.A. No. 17-cv-83-GBW
 3G LICENSING, S.A., et al.,
                                         JURY TRIAL DEMANDED
                     Plaintiffs,

              v.

 HTC Corporation,

                     Defendant.


                         [HTC’S PROPOSED] VERDICT FORM
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        Instructions: When answering the following questions and completing this Verdict

 Form, please follow the directions provided throughout the form. Your answer to each question

 must be unanimous. Please refer to the Final Jury Instructions for guidance on the law applicable

 to each question.

        In this Verdict Form, “3G Licensing” or “3GL” means plaintiff 3G Licensing S.A., “HTC

 Corp.” means defendant HTC Corporation, “’091 Patent” means “U.S. Patent No. 7,955,091”

 and “’818 Patent” means U.S. Patent No. 6,856,818.
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                                      QUESTIONS AND ANSWERS

     I.       INFRINGEMENT

          1. Has 3G Licensing proven by a preponderance of the evidence that HTC Corp. imported

             the accused phones into the United States or otherwise sold the accused phones in the

             United States? 1

                    Please check “Yes” or “No” below. A “Yes” answer is a finding for 3GL. A
                    “No” answer is a finding for HTC Corp.


                            Yes _______                    No _______

 If you answered this question “No,” do NOT answer any other questions, leave the remaining
 questions unanswered and go to the final page of the Verdict Form.

             A.     ’091 Patent

          2. Has 3G Licensing proven b a preponderance of the evidence that HTC Corp. directly

             infringed any of the following claims of the ’091 Patent?

                    For each asserted claim please check “Yes” or “No” below. A “Yes” answer is a
                    finding for 3GL. A “No” answer is a finding for HTC.

                                                     Yes                   No

                    a.      Claim 1                  ____________          ____________

                    b.      Claim 2                  ____________          ____________

                    e.      Claim 6                  ____________          ____________

                    f.      Claim 7                  ____________          ____________




 1
   HTC’s Position: Whether HTC Corp. has imported or sold the accused phones in the United
 States is a threshold issue in this case because Plaintiffs voluntarily dismissed HTC Corp.’s U.S.-
 based affiliate, HTC America, Inc., the entity responsible for sales in the United States. D.I. 74.
 HTC Corp. moved for summary judgment of no infringing sales, but the Court denied the motion
 finding a factual dispute. D.I. 489 at 20-21.
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       B.     ’818 Patent

    3. Has 3G Licensing proven by a preponderance of the evidence that HTC Corp. directly

       infringed any of the following claims of the ’818 Patent with respect to the Accused

       Verizon phones?

              For each asserted claim please check “Yes” or “No” below. A “Yes” answer is a
              finding for 3GL. A “No” answer is a finding for HTC.

                                               Yes                       No

              a.      Claim 18                 ____________              ____________

              b.      Claim 19                 ____________              ____________

              c.      Claim 22                 ____________              ____________

              d.      Claim 23                 ____________              ____________

    4. Has 3G Licensing proven by a preponderance of the evidence that HTC Corp. induced

       the infringement of any of the following claims of the ’818 Patent with respect to the

       Accused Verizon phones?

              For each asserted claim please check “Yes” or “No” below. A “Yes” answer is a
              finding for 3GL. A “No” answer is a finding for HTC.

                                               Yes                       No

              a.      Claim 18                 ____________              ____________

              b.      Claim 19                 ____________              ____________

              c.      Claim 22                 ____________              ____________

              d.      Claim 23                 ____________              ____________



    5. Has 3G Licensing proven by a preponderance of the evidence that HTC Corp. induced

       the infringement of any of the following claims of the ’818 Patent with respect to the
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           Accused Google-Fi phones?

                  For each asserted claim please check “Yes” or “No” below. A “Yes” answer is a
                  finding for 3GL. A “No” answer is a finding for HTC.

                                                   Yes                   No

                  a.      Claim 18                 ____________          ____________

                  b.      Claim 19                 ____________          ____________

                  c.      Claim 22                 ____________          ____________

                  d.      Claim 23                 ____________          ____________


 If you answered all of questions 2-5 regarding infringement “No,” do NOT answer any other
 questions, leave the remaining questions unanswered and go to the final page of the Verdict
 Form.

  II.       INVALIDITY

        6. Has HTC Corp. proven by clear and convincing evidence that any of the following

           claims of the ’091 Patent is invalid?

                  For each asserted claim please check “Yes” or “No” below. A “Yes” answer is a
                  finding for HTC Corp.. A “No” answer is a finding for 3GL.

                                                   Yes                   No

                  a.      Claim 1                  ____________          ____________

                  b.      Claim 2                  ____________          ____________

                  e.      Claim 6                  ____________          ____________

                  f.      Claim 7                  ____________          ____________

        7. Has HTC Corp. proven by clear and convincing evidence that any of the following

           claims of the ’818 Patent is invalid?
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                    For each asserted claim please check “Yes” or “No” below. A “Yes” answer is a
                    finding for HTC Corp.. A “No” answer is a finding for 3GL.
                                                    Yes                     No

                    a.     Claim 18                 ____________              ____________

                    b.     Claim 19                 ____________              ____________

                    c.     Claim 22                 ____________              ____________

                    d.     Claim 23                 ____________              ____________

     III.      PATENT INELIGIBILITY 2

     11. This question relates to patent eligibility and is unrelated to Section II: Invalidity

            (Questions 6-7). Did HTC Corp. prove by clear and convincing evidence that, when

            taken individually or when taken as an ordered combination, the following claims of the

            ’818 patent involved only technology which a person of ordinary skill in the art would

            have considered to be well-understood, routine and conventional as of February 11,

            1997?

            For each asserted claim please check “Yes” or “No” below. A “Yes” answer is a finding
            for HTC Corp. A “No” answer is a finding for 3GL.

                                                    Yes                       No

                    a.     Claim 18                 ____________              ____________

                    b.     Claim 19                 ____________              ____________


 2
  HTC’s Position: Step 2 for the ’818 patent should not be tried to the jury. “While patent
 eligibility is ultimately a question of law . . . [w]hether something is well-understood, routine,
 and conventional to a skill artisan at the time of the patent is a factual determination” is a
 “question of fact” that must be “proven by clear and convincing evidence.” Berkheimer v. HP
 Inc., 881 F.3d 1360, 1368- 69 (Fed. Cir. 2018); see also Aatrix Software, 882 F.3d at 1128
 (“Whether the claim elements or the claimed combination are well-understood, routine, [and]
 conventional is a question of fact.”). Since the Federal Circuit’s decision in Berkheimer, other
 Court have included step 2 in the jury instructions and verdict form. See, e.g., Innovation
 Sciences, LLC v. Amazon.com, Inc., et al., 4:18-cv-474, Dkt. No. 845 at p. 22-23 (Final Jury
 Instructions, Sept. 2, 2020); Dkt. No. 853 at 4 (Verdict Form).
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             c.    Claim 22           ____________        ____________

             d.    Claim 23           ____________        ____________
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  IV.    DAMAGES (IF APPLIABLE)

  If you answered “Yes” to any of the asserted claims in Question 2-5 on Infringement, and
  you answered “No” for the corresponding claim in Questions 6-7 (i.e., if you found any claim
  to be valid and infringed), proceed to answer the following questions 12-15 only for the
  patent(s) that you found are valid and infringed. If you did not so answer, then leave this
  section blank.

    A. ’091 Patent

    12. What has 3GL proven by a preponderance of the evidence that it is entitled to as

        damages for HTC Corp.’s infringing sales?

        A royalty of $ _______ per phone on a base of (i.e., the number of)

        __________________ infringing phones for a total sum of $__________________.

    B. ’818 Patent (Verizon Phones)

    13. What has 3GL proven by a preponderance of the evidence that it is entitled to as

        damages for HTC Corp.’s infringing sales?

        A royalty of $ _______ per phone on a base of (i.e., the number of)

        __________________ infringing phones for a total sum of $__________________.

    C. ’818 Patent (Google-Fi Phones)

    14. If you found that HTC Corp. has infringed any asserted claim of the ’818 patent and

        that the asserted claim is not invalid for Google-Fi Phones, on what date was 3GL first

        entitled to damages from HTC Corp.?

                                                     Date: ____________________________

    15. What has 3GL proven by a preponderance of the evidence that it is entitled to as

        damages for HTC Corp.’s infringing sales of Google-Fi Phones?

        A royalty of $ _______ per phone on a base of (i.e., the number of)
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        __________________ infringing phones for a total sum of $__________________.


 Answer Question 16 only if you found one or more of the asserted claims to be infringed in
 Questions 2-5 and you did not find the infringed claim(s) to be invalid in Questions 6-7.


    16. Has 3GL proven by a preponderance of the evidence that HTC Corp. willfully infringed

        any asserted claim of any of the Asserted Patents ?

               A “Yes” answer is a finding for 3GL. A “No” answer is a finding for HTC Corp.

                                                Yes                   No

                       ’091 Patent              ____________          ____________

                       ’818 Patent              ____________          ____________
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                                Unanimous Verdict

 ______________________
 Date



 Foreperson



 Juror



 Juror



 Juror



 Juror



 Juror



 Juror



 Juror
